                         UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF NORTH CAROLINA
                                    Charlotte Division
                          Civil Action No.__________________

___________________________________x
                                     :
BENJAMIN E. DAVIS and                :               CLASS ACTION COMPLAINT
ROBERTO F. GARCIA,                   :
                                     :
                  Plaintiffs,        :               DEMAND FOR JURY TRIAL
                                     :
vs.                                  :
                                     :
                                     :
MERRILL LYNCH & CO., INC., and       :
MERRILL LYNCH, PIERCE, FENNER :
& SMITH, INC.,                       :
                                     :
                  Defendants.        :
                                     :
___________________________________x

       COME NOW Plaintiffs Benjamin E. Davis and Roberto F. Garcia on behalf of

themselves and the Class of others similarly situated as defined herein, and hereby file this Class

Action Complaint against Defendants Merrill Lynch & Co., Inc. and Merrill Lynch, Pierce,

Fenner & Smith, Inc. (collectively, “Merrill Lynch”), and state as follows:

                                        JURY DEMAND

       Plaintiffs hereby demand a trial by jury.

                                          I. PARTIES

       1.       Plaintiff Benjamin E. Davis (“Davis”) is an adult citizen of North Carolina and

resides in Mecklenburg County, North Carolina. Davis was employed as a Financial Advisor

(“FA”) by Merrill Lynch in Charlotte, North Carolina from January, 1983 until his involuntary

termination in May, 2013.




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       2.       Plaintiff Roberto F. Garcia (“Garcia”) is an adult citizen of Florida and resides in

Dade County, Florida. Garcia was employed as an FA by Merrill Lynch from October, 1988

until his involuntary termination in September, 2012.

       3.       Defendant Merrill Lynch & Co., Inc. is a financial services holding company

incorporated in Delaware, whose subsidiaries provide financial and investment services. Its

subsidiary, Defendant Merrill Lynch, Pierce, Fenner & Smith, Inc. is a full service securities firm

engaged in the retail and institutional sale of securities and various other financial products.

Defendants Merrill Lynch & Co., Inc. and Merrill Lynch, Pierce, Fenner & Smith, Inc. employ

approximately 17,000 persons nationwide as Financial Advisors (“FAs”) who sell its products

and services at its offices located throughout the country. As of 2012, Merrill Lynch was the

country’s largest provider of brokerage and brokerage-related services.

       4.       On the weekend of September 13, 2008, Bank of America and Merrill Lynch

entered into an agreement that Bank of America, which is headquartered in North Carolina,

would acquire Merrill Lynch for approximately $50 billion in an all-stock transaction. This

transaction constituted a “Change in Control” as defined by the Plans described below.

                               II. JURISDICTION AND VENUE

       5.       This Court has jurisdiction over this matter under the Class Action Fairness Act

and 28 U.S.C. §1332.

       6.       Venue is appropriate as Class Representative Davis lives in Mecklenburg County,

NC, Bank of America, the parent of Merrill Lynch has its headquarters in Mecklenburg County,

NC and the majority of the witnesses relevant to this matter work and reside in Mecklenburg

County, NC or the immediate vicinity.

                                III. FACTUAL ALLEGATIONS




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       A.      The Relevant Deferred Compensation Plans

       7.       Plaintiffs and the Class they seek to represent are former Merrill Lynch

employees who: (a) were employed by Merrill Lynch on September 15, 2008; (b) participated in

one or more of the Plans and/or the ATP; (c) involuntarily terminated employment with Merrill

Lynch between April 20, 2009 and the present; (d) at the time of their termination had unvested

awards in one or more of the Plans or remaining ATP bonus payments; and (e) were not paid

their account balances in the Plans for awards made for production year 2008 and prior, or the

remaining ATP monthly bonus payments pursuant to the ATP and its Amendment.

       8.       Under the compensation system in effect at Merrill Lynch prior to January, 2009,

an FA’s compensation (excluding insurance benefits) had three components: (1) cash

compensation, (2) participation in long-term contingent compensation, and (3) other

compensation-based awards and ancillary benefits. The primary determinant of all three

components was the “production credit” – credit given for commissions earned on transactions

for which the FA was deemed responsible.

       9.       The first component, cash compensation, was computed as a percentage of the

production credits generated by the FA that year. The percentage varied with the FA’s overall

level of production credit: the greater the total production credit, the greater the percentage of

that credit that was awarded as cash compensation. Cash compensation also depended on the

type of transaction that generated the commission, although for all types of transactions, a higher

percentage was awarded to FAs with higher total production credit. A compensation matrix for

each year, called a “payout grid,” showed the percentage of production credits awarded for each

type of transaction at each level of overall production credit.




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         10.    The second component, long-term contingent compensation, involved earned

compensation that was diverted into one or more of four plans: the Merrill Lynch Financial

Advisor Capital Accumulation Plan, referred to as “FACAAP”; the Merrill Lynch Growth

Award Plan for Financial Advisors, referred to as “GAP”; the WealthBuilder Account Plan,

referred to as “WealthBuilder,” and the Long Term Incentive Compensation Program for

Managers and Producers, referred to as “LTICP” (together FACAAP, GAP, WealthBuilder and

LTICP are sometimes referred to herein as the “Plans”).

         11.    Under the Plans, long-term contingent compensation was awarded, but not

immediately paid out. Typically, a Plans participant had to remain at Merrill Lynch for a certain

number of years in order to receive the compensation.

         12.    During the time of their employment with Merrill Lynch, Plaintiffs and Class

members were eligible for, and participated in, one or more of the Plans established by Merrill

Lynch.

         13.    All four of the Plans have documents describing the terms of same, which are

contracts binding both Merrill Lynch and the Plans participants (FACAAP attached as Exhibit A,

GAP attached as Exhibit B, WealthBuilder attached as Exhibit C and LTICP attached as Exhibit

D).

         14.    All of the Plans are governed by New York law.

         15.    All of the Plans provided for long-term contingent compensation to be 100%

vested and entire account balances paid in a cash lump sum as promptly as possible (no later than

45 days) after termination of employment following a Change in Control of Merrill Lynch.

         16.    Merrill Lynch alleges that it terminated Plaintiffs and Class members for “Cause”

and that for this reason they were not entitled to payment of their awards under the Plans.




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       17.      However, Merrill Lynch did not follow the contractual procedures required to

properly terminate Plaintiffs and Class members for “Cause” as defined in the Plans.

       18.      Section 9(d)(v) of the FACAAP concerns termination for “Cause” and outlines

the procedures Merrill Lynch must undertake in order to do so. Substantially similar provisions

can be found in GAP Section 7.6(e), WealthBuilder Section 8.4(e) and LTICP Section 8.4.

       19.      Upon information and belief, Merrill Lynch did not meet the Cause procedures

with regard to the termination of Plaintiffs and Class members set forth in any of the Plans.

       20.      Due to its failure to follow the specific Plans’ terms required to find termination

for Cause, the terminations of Plaintiffs and Class members were contractually without Cause.

       21.      Due to being terminated without Merrill Lynch satisfying the Cause requirements

under the Plans, Plaintiffs and Class members are entitled to full payment of their Plans’ account

balances pursuant to contract.

       22.      To date, upon information and belief, Merrill Lynch has failed to honor the Plans

and pay monies owed to Plaintiffs and Class members.

       23.      The named Plaintiffs represent a Class of, upon information and belief, more than

1,000 Plans participants who were terminated by Merrill Lynch but that did not receive their

Plans’ payouts despite clear language in the Plans.

       24.      Defendants’ breach of the Plans for failure to pay benefits due and owing under

same affected the named Plaintiffs and the proposed Class they seek to represent in that the

conduct was widespread and uniform as to the Plaintiffs and Class members, and the contractual

provisions in the Plans addressing payouts following a Change in Control are uniform as to

Plaintiffs and Class members.




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       B.      The Advisor Transition Program Agreement

       25.      In October, 2008, Merrill Lynch offered retention agreements entitled “Advisor

Transition Program” (“ATP”) agreements to certain FAs (sample ATP and its Amendment

attached as Exhibit E, which contain the same terms offered to each ATP participant).

       26.      The ATP provided for compensation to the offered FA based upon that FA’s

productivity as measured by production credit. This compensation came in the form of a

promissory note that would be satisfied through monthly bonus payments to each participant

during the life of the loan. These bonus payments represented the promissory note’s monthly

repayment obligation, plus interest.

       27.      On November 7, 2008, an Amendment to the ATP (“Amendment,” see Exhibit E)

was offered to the same qualifying FAs who previously received the ATP.

       28.      The Amendment’s specific purpose was to amend the language of the original

ATP’s Section 1 regarding terminations for Cause.

       29.      Pursuant to the terms of the ATP, a terminated FA would be paid the monthly

bonus payments in lump sum unless Defendants terminated the FA for Cause as defined in the

Amendment.

       30.      According to the Amendment executed by Plaintiffs and Class members, in order

for a termination to properly be for Cause to preclude lump sum payment of the monthly bonus

payments, Merrill Lynch is required to follow certain outlined procedures. These procedures are

outlined in the Amendment, Section 1(a)(iv).

       31.      As with the Plans outlined above, a termination by Merrill Lynch without Cause

triggers Merrill Lynch’s obligation to pay the ATP participant’s remaining monthly bonus

payments in lump sum pursuant to contract.




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         32.    As with the Plans described above, Merrill Lynch did not perform its obligations

pursuant to contract in order to deny ATP bonus payments, nor did Merrill Lynch provide

payment of the ATP bonus payments to Plaintiffs and Class members.

         33.    Defendants’ breach of the ATP for failure to pay monies due and owing to its

employees affected the named Plaintiffs and the proposed Class they seek to represent in that the

conduct was widespread and uniform as to the Plaintiffs and Class members, and the contractual

provisions in the ATP and its Amendment addressing payouts following a termination without

cause are uniform as to Plaintiffs and Class members.

                               CLASS ACTION ALLEGATIONS

         34.    Plaintiffs bring this action pursuant to Rule 23 of the Federal Rules of Civil

Procedure on behalf of the following Class:

         Individuals who were employed by Merrill Lynch in the United States who: (a)
         were employed by Merrill Lynch on September 15, 2008; (b) participated in one
         or more of the Plans and/or the ATP; (c) involuntarily terminated employment by
         Merrill Lynch between April 20, 2009 and the present; (d) at the time of their
         termination had unvested awards in one or more of the Plans or remaining ATP
         payments; and (e) were not paid their account balances in the Plans for awards
         made for production year 2008 and prior, or the remaining ATP monthly bonus
         payments pursuant to the ATP and its Amendment.

         35.    Plaintiffs are members of the Class they seek to represent.

         36.    The proposed Class is so numerous that joinder of all members is impracticable.

         37.    There are questions of law and fact common to the Class, and those questions

predominate over individual questions.

         38.    The claims alleged by Plaintiffs are typical of the claims of the Class.

         39.    Plaintiffs will fairly and adequately represent and protect the interests of the

Class.




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        40.     The questions of law and fact common to the members of the Class predominate

over any questions affecting only individual members, and a class action is superior to other

available methods for the fair and efficient adjudication of the controversy.

        41.     Defendants have acted and refused to act on grounds generally applicable to the

Class as a whole, making injunctive and declaratory relief appropriate.

                                     CAUSES OF ACTION

                                       COUNT I
                                  BREACH OF CONTRACT

        42.     Plaintiffs and Class members adopt and incorporate paragraphs 1 through 41 in

full.

        43.     The Plans and ATP are valid and binding contracts between Plaintiffs and Class

members on the one hand, and Defendants on the other hand.

        44.     Plaintiffs and Class members have adequately performed based upon the Plans

and ATP.

        45.     Defendants have breached the terms of the Plans and ATP by failing or refusing

to distribute amounts due and owing to Plaintiffs and Class members pursuant to the Plans and

ATP.

        46.     Plaintiffs and Class members have been damaged due to Defendants’ breach.

        47.     In addition, Defendants’ conduct in their breach of the various contracts is

morally culpable and may entitle Plaintiffs and Class members to punitive damages.

                                          COUNT II
                                         CONVERSION

        48.     Plaintiffs and Class members adopt and incorporate paragraphs 1 through 41 in

full.




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        49.      Defendants have converted the Plans’ account balances and monthly ATP bonus

 payments of Plaintiffs and Class members, and Defendants are liable to Plaintiffs and Class

 members in the amount of the value of the account balances in the Plans and remaining monthly

 ATP bonus payments at the time of Defendants’ conversions.

        50.      Merrill Lynch acted without following the procedures of the Plans and ATP and

 did so with the intent to convert.

        51.      Defendants remain in wrongful possession of Plaintiffs’ and Class members’

 Plans and ATP bonus payment funds despite their demands for same.

        52.      Plaintiffs and Class members’ Plans and ATP bonus payment funds are specific

 and identifiable monetary amounts.

        53.      Plaintiffs and Class members have been damaged due to Defendants’ conversion

 of the Plans and ATP bonus payment funds.

                                              COUNT III
                                            UNPAID WAGES

        54.      Plaintiffs and Class members adopt and incorporate paragraphs 1 through 41 in

full.

        55.      The Plans and ATP at issue are construed in accordance with and governed by the

laws of the State of New York as to all matters.

        56.      At all relevant times, Merrill Lynch and/or BOA was an “employer” as defined in

applicable labor laws, and Plaintiffs and Class members were “employees” within the meaning of

such labor laws.

        57.      Defendants promised to pay Plaintiffs and Class members for their services

pursuant to the Plans and ATP as part of their earned wages during their tenure.




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         58.     The Plans awards and ATP bonus payments in the instant matter are properly

“wages” as defined under the applicable labor laws.

         59.     Plaintiffs and Class members performed and met all requirements under the Plans

and ATP in order to receive payouts following their terminations.

         60.     Pursuant to applicable labor laws, Plaintiffs and Class members were entitled to

be paid for those wages.

         61.     Defendants have failed, neglected, or refused to pay Plaintiffs and Class members

for all of their wages earned pursuant to applicable labor laws, proximately causing Plaintiffs and

Class members damage.

                                         COUNT IV
                                    UNJUST ENRICHMENT

         62.     Plaintiffs and Class members adopt and incorporate paragraphs 1 through 41 in

full.

         63.     Throughout their tenure at Merrill Lynch, Plaintiffs and Class members

performed their services in good faith. Defendants accepted Plaintiffs’ and Class members’

services and derived great benefit from same. Plaintiffs and Class members were granted

compensation under the Plans and ATP for these services and reasonably expected that they

would receive payments due and owing to them under the Plans and ATP if their employment

ended involuntarily following a Change in Control and Merrill Lynch failed to follow the Cause

procedures.

         64.     By engaging in the conduct described in this Complaint, Defendants were unjustly

enriched by the services performed by Plaintiffs and Class members and by retaining for itself

monies under the Plans and ATP which are due and owing to Plaintiffs and Class members.




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         65.    Under the circumstances described in this Complaint, it would be inequitable and

unjust for Defendants to retain Plaintiffs’ and Class members’ funds under the Plans and ATP.

         66.    Defendants’ retention of Plaintiffs’ and Class members’ Plans and ATP funds has

damaged Plaintiffs and Class members.

                                          COUNT V
                                     INJUNCTIVE RELIEF

         67.    Plaintiffs and Class members adopt and incorporate paragraphs 1 through 41 in

full.

         68.    Plaintiffs and Class members are likely to prevail on the merits of their claims in

this case.

         69.    Plaintiffs and Class members have suffered irreparable harm as a result of

Defendants’ failure to properly follow the Plans and ATP agreements.

         70.    The balance of equities in this matter is decidedly in favor of the granting of

injunctive relief.

         71.    The public interest will not be disserved by the issuance of an injunction, as

Defendants would be required to follow written contracts that Defendants drafted.

         72.    Plaintiffs and Class members request the Court determine and declare that

Plaintiffs and all similarly situated Class members are entitled to an immediate and full

distribution of their Plans’ accounts and monthly bonus payments under the ATP. Plaintiffs and

Class members further request such other equitable, declaratory, and injunctive relief be granted

as may be necessary to compel such a distribution, including the establishment of a constructive

trust, if necessary and appropriate, and/or prohibiting Defendants from continuing their improper

actions in the future.




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                                          PRAYER FOR RELIEF


       WHEREFORE, Plaintiffs respectfully request that this Court find in favor of them and

the Class and against Defendants as follows:

       a.       Certify this case as a class action;

       b.       Designate Plaintiffs as Class Representatives;

       c.       Designate Plaintiffs’ counsel of record as Class Counsel;

       d.       Order appropriate equitable and injunctive relief to remedy the unlawful conduct;

       e.       Award Plaintiffs and all others similarly situated the full value of all

compensation and benefits lost and that they may lose in the future as a result of Defendants’

conduct;

       f.       Award Plaintiffs and all others similarly situated all damages, interest and

attorneys’ fees recoverable under applicable laws;

       g.       Award Plaintiffs and all others similarly situated punitive damages, compensatory

and other damages;

       h.       Award Plaintiffs and all others similarly situated prejudgment interest and

attorneys’ fees, costs and disbursements, and liquidated damages, as provided by law;

       i.       Award Plaintiffs and all others similarly situated such other make whole

equitable, injunctive and legal relief as this Court deems just and proper to end the unlawful

conduct and fairly compensate Plaintiffs;

       j.       Order disgorgement of any and all profits of Defendants earned or associated with

the contractual breaches referenced herein;

       k.       Award Plaintiffs and all others similarly situated any and all other relief as this

Court deems just and proper; and



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       l.       That this matter be tried by a jury.


       This the 20th day of April, 2015.

                                               /s/Steven A. Meckler
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